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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                                BILLINGS DIVISION




  DANIEL J. COLYIN and CENA M-M
  TECCA,                                              CV 20-40-BLG-SPW


                       Plaintiffs,
                                                      ORDER ADOPTING
  vs.                                                 MAGISTPL^TE'S FINDINGS
                                                      AND RECOMMENDATIONS
 LAKEVBEW LOAN SERVICING,
 LLC,

                       Defendant.



        The United States Magistrate Judge filed Findings and Recommendations on

January 7,2021. (Doc. 11.) The Magistrate recommended that Plaintiffs'action be

dismissed for failure to state a claim. {Id, at 3).

        Pursuant to 28 U.S.C. § 636(b)(1), parties are required to file written

objections within 14 days of the filing of the Magistrate's Findings and

Recommendations. Federal Rule of Civil Procedure 6(d) extends that period by 3

days when a party is served by mail. No objections were filed. When neither party

objects, this Court reviews the Magistrate's Findings and Recommendations for

clear error. McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc.., 656 F.2d

1309,1313(9th Cir. 1981). Clear error exists ifthe Court is left with a "definite and
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